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IN THE UNITED sTATEs DlSTRICT CoURT Ffi-~HP q _\ nc.
FOR THE WESTERN DlSTRICT oF TENNESSEE
WESTERN DIVISION 95 JUL -5 PH 2= 06

 

UNITED STATES OF AMERICA,
Plaintiff,

v_ No. 05-20110-B/P
05-20111-B/V
05-20112-B/P

RAFAT ]AMAL MAWLAWI, 05-20113-B/An

05-20130-B/V
Defendant.

 

ORDER OF REFERENCE

 

Before the court are motions of the Defendant, Rafat Jamal Mawlawi, for Consideration
of Bond Due to Medical Conditions filed in the above five cases presently pending before the
court. Because only one hearing needs to be conducted in regard to all of Defendant’s motions,
these motions are referred to the Magistrate Judge Tu Pham for determination Any objections
to the magistrate judge’s order shall be made within ten (lO) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections

§-£\
IT IS SO ORDERED this§ day of July, 2005.

deals

J. DANIEL BREEN
D STATES DlSTRICT JUDGE

Thls document entered on the docket sheet In compl|anca /
with me ss and/or az(b) mch on ~ ' 5 35

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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Honorable J. Breen
US DlSTRICT COURT

